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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   UNITED STATES OF AMERICA,
        Plaintiff,

   v.                                                          CASE #: 16-20715-CR-COOKE

   CRAIG SIZER,
         Defendant.
   ________________________________/

                                  PETITION BY MARIA SIZER

                                   (THIRD PARTY CLAIMANT)

          COMES NOW, the Petitioner, MARIA SIZER (“Petitioner”), by and through the

   undersigned attorney, and asserts a third-party interest in real property located at 555 N.E. 57th

   Street, Miami, Florida, 33137, pursuant to 21 U.S.C. §853(n), which has been preliminarily

   ordered forfeited to the Government in the instant case. In support thereof, Petitioner states as

   follows:

                                    FACTUAL BACKGROUND

          1.      In March 2008, CRAIG SIZER (“Sizer”), the Defendant in the above styled case,

   purchased real property located at 555 N.E. 57th Street, Miami, Florida, 33137 (the “Subject

   Property”). Ex. 1 (Purchase Paperwork)

          2.      The agreed sales price of the Subject Property was $1,025,000.00. Id.

          3.      To execute the purchase, Sizer paid 20% of the sales price from his own funds as a

   down payment and obtained a mortgage for the remaining 80%. Id.

          4.      Thus, Sizer paid $205,000.00 (two hundred and five thousand dollars) from his own

   funds and mortgaged $820,000.00.
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           5.      In April 2008, Sizer also paid $56,051.00 to complete renovations that increased

   the value of the Subject Property. Ex. 2 (Construction Invoice)

           6.      On August 7, 2009, Sizer married Petitioner in Miami-Dade County, Florida. Ex. 3

   (Marriage Record)

           7.      Following their marriage, the Subject Property functioned as Sizer and Petitioner’s

   family home and residence.

           8.      Petitioner continues to reside in the Subject Property with the couple’s two minor

   children.

           9.      From September 2009 through approximately December 2015, Sizer engaged in

   the illegal conduct that is the subject of the above styled case. Ex. 4 (Factual Proffer)

           10.     Upon information and belief, Sizer began to profit from his illegal conduct around

   March 2010 and used a portion of those proceeds to pay the mortgage on the Subject Property.

           11.     However, it should be noted that Sizer made interest only payments on the

   mortgage and did not acquire any equity therefrom.

           12.     On September 1, 2015, Sizer quit claimed the Subject Property to Petitioner

   because he was advised that spousal joinder was needed to maintain the homestead status of the

   property. Ex. 5 (Quit Claim Deed and Emails).

           13.     At the time of the quit claim, Petitioner did not know or have reason to know of

   Sizer’s illegal conduct giving rise to forfeiture.

           14.     Petitioner was a bona fide purchaser for value of the right, title, and interest in the

   Subject property who, at the time of the quit claim, was reasonably without cause to believe that

   the Subject Property was subject to forfeiture.
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           15.    It should be noted that Petitioner was not charged in the instant case and had

   absolutely no involvement in or knowledge of Sizer’s illegal conduct.

           16.    While Sizer engaged in the illegal conduct that is the subject of the instant criminal

   prosecution, Petitioner functioned as a housewife, cared for their children, and maintained their

   home.

           17.    Petitioner is not a sophisticated litigant. Her education is limited to high school

   equivalency which was attained in her native country of Venezuela. Petitioner speaks broken

   English as a second language and has no professional experience, education, training, or licensing

   in finance, accounting, business, or securities.

           18.    On the contrary, prior to marrying Sizer, Petitioner worked as a flight attendant for

   a Venezuelan airline.

           19.    On February 23, 2017, Sizer plead guilty to one count of Conspiracy to Commit

   Mail and Wire Fraud in violation of 18 U.S.C. §1349.

           20.    Pursuant to Paragraph 13 of his plea agreement, Sizer agreed to forfeiture of the

   Subject Property. Ex. 6 (Plea Agreement)

                           VALUATION OF THE SUBJECT PROPERTY

           21.    It should be recalled that Sizer bought the Subject Property in March 2008 for

   $1,025,000.00.

           22.    To make this purchase, he paid $205,000.00 as an initial down payment.

           23.    He also paid for $56,051.00 in renovations which increases the property the value

   of the property.

           24.    In total, Sizer paid $261,051.00 out of his pocket to buy the Subject Property and

   increase its value prior to the illegal conduct triggering forfeiture of the Subject Property.
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          25.     Because Sizer made interest only payments on the mortgage, he did not have any

   other equity in the Subject Property beyond his down payment and property improvements.

          26.     Pursuant to their marriage and the quit claim deed, Petitioner has a fifty percent

   (50%) interest in that equity.

                       SPECIFIC PROPERTY CLAIMED BY PETITIONER

          27.     Petitioner claims fifty percent (50%) of the equity in the Subject Property.

          28.     It should be noted that Petitioner’s claim does not include any equity derived from

   mortgage payments made by Sizer using the proceeds of his illegal conduct because all of his

   mortgage payments were interest only payments. No equity was derived from any of his mortgage

   payments.

          29.     It also does not include the portion of equity that Sizer agreed to forfeit pursuant to

   his plea agreement. On the contrary, Petitioner is claiming her half only.

          30.     According to a market study performed by the undersigned’s realtor, the Subject

   Property is expected to have a present market value between $1,300,000 and $1,400,000. Ex. 7

   (Market Study)

          31.     The outstanding mortgage balance is currently $820,000.00 plus $1,374.50 for an

   advance. Ex. 8 (Mortgage Statement)

          32.     Thus, the total balance owed the mortgage company is $821,374.50.

          33.     Therefore, Petitioner’s 50% interest in the Subject Property’s equity is expected to

   have a present market value between $239,312.75 and $289,312.75.
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                                            RELIEF SOUGHT

           34.      This Court is first asked to conduct a hearing to adjudicate the validity of

   Petitioner’s interest in the Subject Property.

           35.      The Court is further asked to amend its preliminary order of forfeiture and its

   ultimate final order of forfeiture to reflect that 50% of the equity in the Subject Property rightfully

   belongs to Petitioner and shall not be forfeited to the Government.

           36.      It should be noted that the Subject Property is located in the “Morningside”

   neighborhood of Miami, Florida and has substantially increase in value since its purchase nearly

   ten years ago.

           37.      The Court is also asked to vacate the existing lis pendens and order the sale of the

   Subject Property and order the proceeds of such sale be split as follows: 50% of the equity to be

   paid to Petitioner and the balance to be paid to the Government or the Government and any other

   claimant as appropriate.

           38.      To that end, the Court is asked to permit Petitioner ninety (90) days to obtain a

   contract for the sale of the Subject Property before permitting the Government to place property

   for public sale (because public sale by the Government is expected to result in a substantially lower

   sales price).

           39.      Upon sale of the Subject Property, the Court is also asked to apportion the costs of

   the sale proportionately amongst the parties according to their interest in the property, to be paid

   from the gross proceeds of the sale.

           40.      Other relief that the Court deems equitable, just, and appropriate.

                          DEMAND FOR ATTORNEYS FEES AND COSTS

           41.      Petitioner demands attorney’s fees and costs where appropriate.
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                              OATH UNDER PENALTY OF PERJURY

          I declare under penalty of perjury, under the laws of the United States of America, that all

   of the foregoing is true and correct.

   Signed,


   __________________________                           09 / ______
                                                Dated: ______       2017
                                                              22 / __________
   Maria Sizer
   Petitioner

                                                Respectfully Submitted,

                                                Law Offices of Brian Silber, P.A.
                                                Attorneys for Petitioner Maria Sizer

                                                12 S.E. 7th Street, Suite 705
                                                Fort Lauderdale, Florida 33301
                                                954-462-3636 (office)
                                                954-627-0809 (fax)
                                                SilberLaw@gmail.com

                                                By:     /s/ Brian Silber
                                                        BRIAN SILBER, ESQ.
                                                        Florida Bar #: 0640646
                                                        Member SDFL


                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing instrument was e-filed with the Clerk

   of Court using CM/ECF on September 25, 2017.

                                                By:     /s/ Brian Silber
                                                        BRIAN SILBER, ESQ.
                                                        Florida Bar #: 0640646
                                                        Member SDFL
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                                      SERVICE LIST

   VIA CM/ECF and U.S. Mail:

   Michelle B. Alvarez, Esq.
   Assistant United States Attorney
   c/o U.S. Attorney’s Office, SDFL
   99 N.E. 4th Street, Suite 700
   Miami, Florida, 33132
   305-961-9088
   305-536-4089 (Fax)
   Michelle.Alvarez@usdoj.gov
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                         Exhibit 1
             (Purchase Paperwork)
9/20/2017                                          Property
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                                                                           Detailed Report
                                                                                                                                          Generated On : 9/20/2017

            Property Information
            Folio:                                01-3218-036-0500

                                                  555 NE 57 ST
            Property Address:
                                                  Miami, FL 33137-2626

                                                  CRAIG V SIZER
            Owner
                                                  MARIA SIZER
                                                  555 NE 57 ST
            Mailing Address
                                                  MIAMI, FL 33317 USA
            PA Primary Zone                       0100 SINGLE FAMILY - GENERAL
                                                  0101 RESIDENTIAL - SINGLE
            Primary Land Use
                                                  FAMILY : 1 UNIT
            Beds / Baths / Half                   3/2/0
            Floors                                2
            Living Units                          1
            Actual Area                           3,638 Sq.Ft                                                   2016 Aerial Photography
                                                                                                                                          10mi
            Living Area                           3,462 Sq.Ft
            Adjusted Area                         3,136 Sq.Ft                                Taxable Value Information
            Lot Size                              6,480 Sq.Ft
                                                                                                                             2017            2016           2015
            Year Built                            1940
                                                                                             County
                                                                                             Exemption Value              $50,000          $50,000       $50,000
            Assessment Information
                                                                                             Taxable Value               $657,465         $328,601      $325,970
            Year                                  2017             2016              2015
                                                                                             School Board
            Land Value                         $411,532         $391,935          $314,089
                                                                                             Exemption Value              $25,000          $25,000       $25,000
            Building Value                 $353,678              $32,919           $33,074
                                                                                             Taxable Value               $682,465         $353,601      $350,970
            XF Value                           $43,064           $43,552           $28,807
                                                                                             City
            Market Value                   $808,274             $468,406          $375,970
                                                                                             Exemption Value              $50,000          $50,000       $50,000
            Assessed Value                 $707,465             $378,601          $375,970
                                                                                             Taxable Value               $657,465         $328,601      $325,970
                                                                                             Regional
            Benefits Information
                                                                                             Exemption Value              $50,000          $50,000       $50,000
            Benefit                Type                          2017      2016      2015
                                                                                             Taxable Value               $657,465         $328,601      $325,970
            Save Our Homes Cap Assessment Reduction $100,809 $89,805
            Homestead              Exemption                $25,000 $25,000 $25,000
            Second Homestead       Exemption                $25,000 $25,000 $25,000
9/20/2017           Case 1:16-cr-20715-MGC Document                         Property
                                                                                641Search    Application
                                                                                        Entered       on- Miami-Dade
                                                                                                          FLSD DocketCounty             09/25/2017 Page 10 of 81
            Note: Not all benefits are applicable to all Taxable Values (i.e. County, School
            Board, City, Regional).

            The Office of the Property Appraiser is continually editing and updating the tax roll. This website may not reflect the most current information on record. The Property Appraiser
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            Property Information
            Folio: 01-3218-036-0500

            Property Address:       555 NE 57 ST




                                 Roll Year 2017 Land, Building and Extra-Feature Details
            Land Information

            Land Use                                         Muni Zone                       PA Zone                       Unit Type                              Units           Calc Value
            GENERAL                                            T3 R                            0100                         Front Ft.                            60.00              $411,532


            Building Information

                       Building Number              Sub Area             Year Built                   Actual Sq.Ft.               Living Sq.Ft.             Adj Sq.Ft.            Calc Value
                             1                           1                  1940                              2,285                       2,109                  1,971              $223,511
                             1                           2                  2004                                660                          660                   532               $63,202
                             1                           3                  2016                                453                          453                   393               $53,055
                             2                           1                  1940                                240                          240                   240               $13,910


            Extra Features

            Description                                                                                                         Year Built                        Units           Calc Value
            Aluminum Modular Fence                                                                                                2004                             153                 $4,682
            Patio - Brick, Tile, Flagstone                                                                                        2004                             856                 $8,286
            Pool 6' res BETTER 3-8' dpth, tile 250-649 sf                                                                         2004                                1              $26,400
            Whirlpool - Attached to Pool (whirlpool area only)                                                                    2004                               30                $3,696


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            Version:
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            Property Information
            Folio: 01-3218-036-0500

            Property Address:       555 NE 57 ST




                                 Roll Year 2016 Land, Building and Extra-Feature Details
            Land Information

            Land Use                                         Muni Zone                       PA Zone                       Unit Type                              Units           Calc Value
            GENERAL                                            T3 R                            0100                         Front Ft.                            60.00              $391,935


            Building Information

                       Building Number              Sub Area             Year Built                   Actual Sq.Ft.               Living Sq.Ft.             Adj Sq.Ft.            Calc Value
                             1                           1                  1940                              2,285                       1,959                  1,946               $15,763
                             1                           2                  2004                                660                          660                   532                 $6,392
                             1                           3                  9999                                453                          453                   393                      $0
                             2                           1                  1940                                240                            0                   240               $10,764


            Extra Features

            Description                                                                                                         Year Built                        Units           Calc Value
            Whirlpool - Attached to Pool (whirlpool area only)                                                                    2004                               30                $3,738
            Patio - Brick, Tile, Flagstone                                                                                        2004                             856                 $8,380
            Aluminum Modular Fence                                                                                                2004                             153                 $4,734
            Pool 6' res BETTER 3-8' dpth, tile 250-649 sf                                                                         2004                                1              $26,700


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            Property Information
            Folio: 01-3218-036-0500

            Property Address:       555 NE 57 ST Miami, FL 33137-2626




                                 Roll Year 2015 Land, Building and Extra-Feature Details
            Land Information

            Land Use                                         Muni Zone                       PA Zone                       Unit Type                              Units           Calc Value
            GENERAL                                            T3 R                            0100                         Front Ft.                            60.00              $314,089


            Building Information

                       Building Number              Sub Area             Year Built                   Actual Sq.Ft.               Living Sq.Ft.             Adj Sq.Ft.            Calc Value
                             1                           1                  1940                              2,285                       1,959                  1,946               $15,763
                             1                           2                  2004                                660                          660                   532                 $6,464
                             1                           3                  9999                                453                          453                   393                      $0
                             2                           1                  1940                                240                            0                   240               $10,847


            Extra Features

            Description                                                                                                         Year Built                        Units           Calc Value
            Aluminum Modular Fence                                                                                                2004                             153                 $3,519
            Patio - Brick, Tile, Flagstone                                                                                        2004                             856                 $6,163
            Pool 6' res BETTER 3-8' dpth, tile 250-649 sf                                                                         2004                                1              $17,100
            Whirlpool - Attached to Pool (whirlpool area only)                                                                    2004                               30                $2,025


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            Property Information
            Folio: 01-3218-036-0500

            Property Address:       555 NE 57 ST



            Full Legal Description
            18 53 42
            BAYSHORE UNIT NO 2 PB 9-98
            LOT 13 BLK 17
            LOT SIZE 60.000 X 108
            OR 17912-4908 1297 1
            COC 26262-4936 03 2008 1


            Sales Information
            Previous Sale                         Price     OR Book-Page                                                   Qualification Description
            09/01/2015                       $410,000         29838-4554          Corrective, tax or QCD; min consideration
            03/01/2008                     $1,025,000         26262-4936          Sales which are qualified
            04/01/2006                              $0        24499-1120          Sales which are disqualified as a result of examination of the deed
            03/01/2005                       $930,000         23175-4330          Sales which are qualified
            12/01/1997                       $180,000         17912-4908          Sales which are qualified


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                          Exhibit 2
             (Construction Invoice)
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                          Exhibit 3
                  (Marriage Record)
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                          Exhibit 4
                    (Factual Proffer)
Case
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                             U NITED STA TE S D ISTRIC T C O U RT
                             SO U TH ERN D ISTR ICT O F FLO R IDA
                                C aseN o.:16-20715-C R -CO O K E

  U NITED STATE S O F A M E RICA ,



  CR A IG SIZER

          D efendant.


                                       FA CTU AL PR O FFER

           H ad thiscaseproceeded to trial,the parties agree thatthe G overnm entw ould have proven
   the follow ing factsbeyond a reasonable doubt. The parties agree thatthese facts,which are true,
   do not include all facts know n to the G overnm ent and Defendant Craig Sizer relating to the
   Indictm ent.The parties agree thatthese facts are sufficientto prove the guiltofthe D efendantas
   to Count1 ofthe above-referenced Indictm ent.

        From approxim ately Septem ber 2009, through approxim ately D ecem ber 20l5, in the
   Southern D istrictof Florida and elsew here,Craig Sier conspired w ith others,including M iguel
   M esa,K eith H oulihan,Charles K .Topping,and A nita Sgarro,to defraud over700 individuals.
   This defendant and others participated in a schem e to defraud that raised approxim ately $23
   m illion from the sale ofstock tied to two corporationsnam ed Sanom edics lnternationalH oldings,
   lnc.Césanomedics'')andFunCoolFree(tTCF'').
           Thisconspiracy occurred by m eansofm aterially false and fraudulentpretenses,asw ellas
   m aterialom issions,to know ingly devise a schem e and artificeto defraud and to obtain m oney and
   property through the delivery ofcertain m ailm atterand through certain w ire com m unications,in
   violation ofTitle 18,United StatesCode,Sections 1341,1343,and 1349.

        D uring the course of the conspiracy,Sanom edics claim ed to develop and m arket a line of
   non-contactinfrared thenuom etersprincipally for consumer home healthcare for children and,
   under the ç'Therm opet''brand nam e,for dogs. Sanom edics publically traded under the stock
   sym bol GCSIM H .'' FCF claim ed it held a sm artphone gam ing portfolio w ith over 500 gam ing
   applications.
           Sizer w as Sanom edics'cofounder,ChiefExecutive Officer,and a controlling shareholder
   of Sanom edics.He w as also a controlling shareholder and officer and director of FCF. From
   around M ay 2009 untilaboutM ay 2010,Sizer and H oulihan solicited,offered,and sold shares of
   Sanom edicsstock to investorsto raisecapitalforSanom edics.Beginning around Septem ber2009,
   Sizerhired M esato solicit,offerand sellsharesofSanom edicsstock to investorsviatelem arketing.
   M esa hired others,m ainly sales m en and w om en,to solicitinvestors to purchase stock. M esa,
   w ith Sizer's perm ission,also hired Sgarro to operate her ow n group that sold the sam e stock.
Case
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      1:16-cr-20715-MGC Document
                         Document641
                                  171 Entered
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  M ainly through the use of these ttboiler room s,'' opened and nm by M esa and Sgarro,this
  Defendantandhisco-conspiratorssolicited investorstobuy sharesofSanom edicsstock inplivate
  placem entofferings,and eventually,Sanom edics com m on stock traded on the Over-The-counter
  Bulletin Board. Later,in 2014 to 2015,they also sold FCF stock.

         Sizerand M esacreated sales'çscripts''used to solicitpotentialinvestors.Salesagentsunder
  M esa often added othermaterialstatem entsto theirown scripts thatthey used to pitch the stock
  sales. To sell Sanom edics and FCF stock,this defendant and his co-conspirators told potential
  investorsthat,for a lim ited time only,a tçlim ited number''ofshares ofSanomedicsstock were
  available to them ata steep discountto the price ofsharestrading on the O TCBB. The defendants
  knew this to be false because Sizer and others controlled the num ber of Sanom edics and FC F
  sharesand often authorized ççstock splits''to generate m ore shares. Investorswere also told that
  no com m issionsorfeesw ere charged,when,in fact,M esa and histeam only m ade m oney through
  com m issionstaken from investorproceeds.

           D uring the conspiracy,Sizer used the m oney received from investors for,am ong other
   things, sales com m issions, fees, and other m onetary distributions to him self, to sales agent
   m anagers,and others they hired,including M esa.Sizer paid M esa 50% of a11m oney raised by
   M esa and his sales people in M esa's boiler room . M esa used this m oney to pay him self,his
   salespeople,including thisD efendant,and others,a com m ission on sales ofstock. Pursuantto his
   agreem entw ith the salespeople he hired,M esa paid allsalespeople by com m ission,directly tied
   to a salesperson's given sale ofstock to a particularinvestor. No salesperson w aspaid w ith stock
   or salary. A ll com bined, the defendants and their co-conspirators used approxim ately 80% of
   investorproceeds in undisclosed com m issionsand fees.
          To induce investors to provide m oney to the defendants and their co-conspirators,this
   D efendant and his co-conspirators m ade num erous m aterially false and fraudulent statem ents to
   investors,including,butnotlimited to:(a)Thatno commission orfeeswould be charged to
   investors'
            ,(b)Thatsalesagentswere employeesofSanomedicsand FCF,providing investorsa
   unique opportunity to purchase a ttlim ited numberofshares''directly from the company'  ,(c)That
   Sanom edics was a ttsafe investm ent,'''tprotitable investm ent,''and one where çtyou w on't lose
   mone/';and(d)ThatJ.S.,afonnerCEO ofAppleInc.and formerpresidentofPepsico,wasthe
   largestSanom edics investorand wason the Sanom edics Board ofD irectors.
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           They sim ilarly lied aboutJ.S.and otherpeople'saffiliation with Sanom eticsandFCF,and
  lied to investorsby telling them thatFCF had a partnership w ith Apple Inc.



  oate:z ;; -f                                 y:
                                                RogerCruz
                                                A ssistantU nit    atesA ttorney

                                                Kevin B.H art
                                                SpecialA ssistantU .S.A ttonzey


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                e />                         By: v.w- .           17u -.- -
                                                D ennis Urbano,Esq.
                                                Attorne for Defendant


   Ilate: 13 l-1                             B y.
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                                                 D efendant               7y
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                          Exhibit 5
                   (Quit Claim Deed
                     and Emails)
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                                                                                                                                       Brian Silber, Esq. <silberlaw@gmail.com>



  Fwd: 19501 W Country Club Drive #1610 Aventura, Fl (6277.00)
  craig sizer <mercurycapllc@gmail.com>                                                                                                            Wed, Aug 30, 2017 at 5:02 PM
  To: silberlaw@gmail.com
  Cc: Craig Sizer <mercurycapllc@gmail.com>




            Begin forwarded message:

            From: Isamary Vinson <isamary@universaltitlelaw.com>
            Subject: 19501 W Country Club Drive #1610 Aventura, Fl (6277.00)
            Date: January 5, 2016 at 3:29:57 PM EST
            To: craig sizer <craig@clsholdings.net>
            Cc: Admin <info@crawfordmiami.com>, Stephen Vinson <steve@universaltitlelaw.com>, Isamary Vinson <isamary@universaltitlelaw.com>

            Mr. Sizer:

            I know you originally took tle as a single man, but since you are now married and this was/is your homestead- I will need your spouse’s name
            as she will need to sign the Deed.

            Please forward me her complete legal name so I can have same when I prepare all the documents.

            Thank you!




            On Jan 5, 2016, at 1:22 PM, Isamary Vinson <isamary@universaltitlelaw.com> wrote:

                   Perfect. Thank you.

                   Isamary Vinson | Stephen L. Vinson, Jr., P.A.
                   1200 Brickell Avenue, Suite 1440
                   Miami, Florida 33131
                   Isamary@universaltitlelaw.com
                   Office: +1 305-375-9510, Ext. 301
                   Fax: +1 305-675-3160

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                          Exhibit 6
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                            SO U TH ER N D ISTR ICT O F FLO R IDA

                                C ase No.:16-20715-C R-CO O K E


  U NITED STATE S O F A M E RICA

  V S.

   C R M G SIZER ,

                 D efendant.
                                       /

                                      PLEA A G R EEM EN T

          TheUnited StatesAttorney'sOfficefortheSouthern DistrictofFlorida(tçthisOffice''or
   tçthe govermnenf')and Craig Sizer(hereinaflerreferred to asthe ttdefendant'')enterinto the
   follow ing agreem ent:
                 The defendantagrees to plead guilty to Count 1 of the lndictm ent,w hich charges

   the defendantwith Conspiracy to Com m itW ire and M ailFraud,in violation of Title 18,U nited

   States Code, Section 1349. A fter sentencing,the govelmm ent agrees to m ove to dism iss the

   rem aining Counts ofthislndictm entasto thisdefendant.

                 The defendant is aware that the sentence will be imposed by the Court after

   considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
   çtsentencing Guidelines''). The defendantacknowledges and understands thatthe Courtwill
   com pute an advisory sentence under the Sentencing Guidelines and thatthe applicable guidelines

   w illbe detennined by the Courtrelying in parton the resultsofapre-sentence investigation by the

   Court'sprobation office,which investigation w illcom m ence aftertheguilty plea hasbeen entered.

   The defendant is also aw are that,under certain circum stances,the Court m ay departfrom the

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  advisory sentencing guideline range thatithas com puted,and m ay raise or low er thatadvisory

  sentence under the Sentencing Guidelines. The defendant is furtheraware and understands that

  the Courtis required to consider the advisory guideline range determ ined under the Sentencing

  Guidelines,butisnotbound to imposeasentencewithin thatadvisoryrange;theCourtispermitted

  to tailorthe ultim ate sentence in lightofother statutory concerns,and such sentence m ay be either

  m ore severe or less severe than the Sentencing Guidelines'advisory range. Knowing these facts,

  the defendant understands and acknow ledges that the Court has the authority to im pose any

  sentence w ithin and up to the statutory m axim um authorized by 1aw for the offense identified in

  paragraph l and that the defendantm ay notw ithdraw the plea solely as a resultofthe sentence

   im posed.

                 The defendantunderstandsand acknowledgesthatthe Courtm ay im pose astatutory

   m axim um term ofim prisonm entofup to 20 years,followed by a tenu ofsupervised release ofup

   to 3 years. In addition to a term ofim prisonm entand supelwised release,the Courtm ay im pose

   atineofup to $250,000ornotm orethan thegreateroftwicethegrossgainsorgrosslossresulting

   from theoffense. See l8U.S.C.j357l(d).
                 The defendant further understands and acknow ledges that, in addition to any

   sentenceimposed underparagraph 3 ofthisagreement,aspecialassessm entin theamountof$100
   w illbe im posed on the defendant. The defendant agrees that any specialassessm ent im posed

   shallbe paid at the tim e of sentencing. lf a defendant is financially unable to pay the special

   assessm ent,the defendantagrees to present evidence to this Office and the Courtatthe tim e of

   sentencing as to the reasons for the defendant's failure to pay.

                  This O ftice resen '
                                     es the rightto infonn the Courtand the probation office of a11

   factspertinentto the sentencing process,including allrelevantinform ation concerning the offenses
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  com m itted,w hether charged or not,as w ell as concerning the defendant and the defendant's

  background. Subjectonlytotheexpresstennsofanyagreed-upon sentencingrecommendations
  contained in this agreem ent,this O ffice furtherreselvesthe lightto m ake any recom m endation as

  to the quality and quantity ofpunishm ent.
          6.     This O ffice agrees that itw illrecom m end atsentencing thatthe Courtreduce by

   tw o levelsthe sentencing guideline levelapplicable to the defendant'soffense,pursuantto Section

   3El.1(a)oftheSentencing Guidelines,based upon thedefendant'srecognition and affinnative
   and tim ely acceptance of personal responsibility. lf at the tim e of sentencing the defendant's

   offense level is determ ined to be l6 or greater, this O ffice w ill file a m otion requesting an

   additionaloneleveldecreasepursuantto Section 3El.1(b)oftheSentencing Guidelines,stating
   thatthe defendant has assisted authorities in the investigation orprosecution of the defendant's

   ow n m isconduct by tim ely notifying authorities of the defendant's intention to enter a plea of

   guilty, thereby perm itting the governm ent to avoid prepaling for trial and perm itting the

   governm ent and the Courtto allocate their resources efficiently. This O ftice further agrees to

   recom m end thatthe defendantbe sentenced atthe low end ofthe guideline range,asthatrange is

   determ ined by the Court. This Office,how ever,willnot be required to m ake this m otion and

   theserecommendationsifthedefendant:(1)failsorrefusestomakeafull,accurateandcomplete
   disclosure to the probation office ofthe circum stances surrounding the relevantoffense conduct;

   (2)isfound to have misrepresented facts to the govenunentpriorto entering into thisplea
   agreement;or(3)commitsanymisconductafterenteling into thispleaagreement,includingbut
   notlim ited to com m itting a state or federaloffense,violating any term ofrelease,orm aking false

   statem ents orm isrepresentationsto any governm entalentity orofficial.


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                 This O ftk e and the defendant agree that,although notbinding on the probation

   officeortheCourt,they willjointlyrecommendthattheCourtmakethefollowingfindingsand
  conclusionsoflaw asto the relevantoffense asto the sentence to be im posed:

                 Base offense
                 level:       The base offense levelis 7 underG uideline 2B l.1;

                 Loss:         M ore than $9,500,000 but less than $25,000,000, per
                               28 l.1(b)(l)(K),adding20 levels;
                 Vl
                  -ctil'
                       ns-
                         .     lnvolved substantialfinancialhardship to five or m ore victim s,per
                               2B1.1(b)(2)(B),adding4levels;
                 Ttole:        The defendantw asan organizerand leaderofa crim inalactivity that
                               involved 5 orm ore participantsand w as otherwise extensive,
                               per3B1.1(a),adding4levels;and
                 Securities
                 Fraud'
                      .        lnvolved a violation ofsecurities1aw w hile the defendantw asan
                               ofticeranddirectorofapubliclytradedcompany,per2B1.l(b)(l9),
                               adding 4 levels

                Assuming the Courtagreeswith an adjusted offense levelofatleast36 and the
  defendant fully com plies w ith allobligations contained in this Plea A greem ent, the governm ent

  agrees to recom m end a sentence atthe low -end ofthe Sentencing Guidelines'range. Also, the

  defendant m ay arg'
                    ue for a sentencing varianee pursuant to the fadors enum erated in Title 18,

  United StatesCode,Section 3553($.The defendantisaware thatany estimateoftheprobable
  sentencing range or sentence thatthe defendantm ay receive,w hether that estim ate com es from

  the defendant's attorney,this Oftice,orthe probation office,is a prediction,nota prom ise, and is

  notbinding on this Oftice,the probation office orthe C ourt. The defendantunderstandsfurther

  thatany recom m endation thatthis Officem akesto the Courtasto senteneing, whetherpursuantto

  this agreem ent or otherw ise, is not binding on the Court and the Court m ay disregard the

  recom m endation in its entirety. The defendant understands and acknowledges, as previously
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  acknowledged in paragraph 3 above,thatthe defendantm ay notw ithdraw the defendant's plea

  based upon the Court's decision not to accept a sentencing recom m endation m ade by the

  defendant,thisOffice,orarecommendationmadejointlybythedefendantandthisOffice.
                                        lm m igration Status

         9.      The defendantrecognizesthatpleading guilty m ay have consequencesw ith respect

  to the defendant'sim m igration status,ifthe defendantis nota citizen ofthe U nited States.Under

  federal law , a broad range of crim es are rem ovable offenses, and, in som e cases, rem oval is

  presumptively mandatory.Removaland otherimmigration consequences are the subjectofa
  separate proceeding, how ever, and the defendant understands that no one, including the

  defendant's attorney or the district Court,can predict to a certainty the effectofthe defendant's

  conviction on the defendant's im m igration status.ln addition,the defendant's plea m ight have

  consequences w ith respect to w hether the defendant is com m itted civilly. The defendant

  neverthelessaffil'm s the desire to plead guilty regardlessofany im m igration orcivilcom m itm ent

  consequences thatthe plea m ay entail,even if the consequence is autom atic rem oval from the

  U nited States or civilcom m itm ent.The defendant is aw are thatthe sentence has not yet been

  determ ined by the Coul't.

         l0.     The defendantagrees thatthe defendant shallcooperate fully w ith this O ffice by:

  (a)providingtruthfulandcompleteinformationandtestimony,andproducingdocuments,records
  andotherevidence,whencalledupon bythisOffice,whetherin intelwiews,beforeagrandjury,
  oratanytrialorotherCourtproceeding;(b)appearingatsuch grandjuryproceedings,hearings,
  trials,andotherjudicialproceedings,andatmeetings,asmayberequired bythisOffice;and (c)
  if requested by this O ftice, w orking in an undercover role under the supervision of, and in

  com pliance w ith,law enforcem entofficersand agents. ln addition,the defendantagreesthatthe
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  defendant w ill notprotectany person or entity through false infonnation or om ission,thatthe

  defendantw illnotfalsely im plicate any person or entity,and thatthe defendantw illnotcom m it

  any furthercrim es.

         11.    This O ftice reserves the l'ightto evaluate the nature and extent ofthe defendant's

  cooperation and to m ake that cooperation,or lack thereof,know n to the Courtat the tim e of

  sentencing. lfin thesoleandunreviewablejudgmentofthisOfficethedefendant'scooperation
  isofsuch quality and significance to the investigation orprosecution ofothercrim inalm atters as

  to w arrantthe Court's dow nw ard departure from the advisory sentencing range calculated under

  the Sentencing G uidelines and/or any applicable m inim um m andatory sentence,this Office m ay

  m ake a m otion priorto sentencing pursuantto Section 5K 1.1 ofthe Sentencing Guidelines and/or

  Title18,United StatesCode,Section3553(e),orsubsequenttosentencingpursuanttoRule35of
  the FederalRules of Crim inalProcedure,inform ing the Courtthat the defendant has provided

  substantial assistance and recom m ending that the defendant's sentence be reduced. The

  defendantunderstands and agrees,however,thatnothing in this agreem entrequiresthisO ffice to

  file any such m otions,and that this O ffice's assessm ent of the quality and significance of the

  defendant's cooperation shallbe binding as itrelatesto the appropliateness ofthis O ffice'sfiling

  ornon-filing ofa m otion to reduce sentence.

                The defendantunderstands and acknow ledgesthatthe Courtisunderno obligation

  to granta m otion forreduction ofsentence filed by this Office. In addition,the defendantfurther

  understands and acknowledges thatthe Courtis under no obligation of any type to reduce the

  defendant's sentencebecause ofthe defendant'scooperation.




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                                             Forfeiture

                 The defendantagreesto forfeitto the United States,voluntarily and im m ediately,

  a11ofthe defendant's right,title and interest the defendanthas,or any corporation or entity the

  defendant controls or affects has,to any property used or intended to be used to com m it,to

  facilitate,orto prom ote the com m ission ofthe conspiracy to com m itw ire fraud and m ailfraud,in

  violation of18U.S.C.j 1349*
                            ,and constituting,derived from,ortraceableto thegrossproceeds
  thedefendantobtained directly orindirectly asaresultofsuch violation,pursuantto 18 U.S.C.j
  982(a)(8).The defendantagrees thatthe following realproperties were derived from or are
  traceabletogrossproceedsandaresubjecttoforfeiture:555N.E.57Street,Miami,FL.
                 Thedefendantspeciticallyagreestotheentryofaforfeituremoneyjudgmentinthe
  amountof$22,456,186,which sum representsthefraud lossattributedtothisdefendantasaresult

  of'said violation.

                 The defendant also agrees to assist this O ffice in all proceedings, w hether

  administrative orjudicial,involving the forfeiture to the United Statesofa1lrights,title,and
  interest,regardlessoftheirnature orfonn,in allassets,including realand personalproperty,cash

  and other m onetary instrum ents, wherever located, w hich the defendant or others to the

  defendant's know ledge have accum ulated as a result of illegal activities.Such assistance shall

  includetheidentificationofa11assetssubjecttoforfeiture,whetherdirectlysubjecttoforfeitureor
  as substitute assets and the transferof such assets to the United States,by delivery upon request,

  of al1necessary and appropriate docum entation w ith respectto the assets,including consents to

  forfeiture, quit claim deeds,and any and all other docum ents necessary to deliver good and

  m arketable title to said property and assets. A dditionally,the defendantagreesto the entry ofan

  orderenjoiningthetransferorencumbranceofassetsthatmaybe identified asbeing subjectto
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  forfeiture. The defendantknowingly and voluntarily agrees thatthe defendantshallnotoppose

  the United States in its m otion for entry of a Prelim inary Order of Forfeiture regarding the

  Forfeitable Property,which the United States shallm ake upon acceptance ofthe defendant'splea

  ofguilty in accordance w ith thisPlea A greem ent.

         l6.     The defendantknow ingly and voluntarily agreesto w aive any claim or defense the

  defendantm ay haveunderthe Eighth A m endm entto the U nited StatesConstitution,including any

  claim ofexcessive fine orpenalty with respectto the forfeited property.The defendantalso agrees

  to w aive any appealfor the forfeiture.In addition,the defendantagrees to w aive any applicable

  timelimitsfortheinitiation ofadministrativeforfeitureand/orfurthernotificationofanyjudicial
  oradm inistrative forfeiture proceedingsbroughtagainstthe property.

                                               Restitution

                 The defendantunderstandsand acknow ledgesthatthe Courtm ustorderrestitution

  forthefullamountofthevictims'lossespursuantto l8U.S.C.j3663A.Defendantunderstands
  thattheam ountofrestitution owed to each victim w illbe determ ined atorbefore sentencing unless

  the Courtorders othenvise.This O ffice and the defendantstipulate and agree thatthe am ountof

  restitution thatthe defendantshallpay to is $22,456,186.This Office agreesto seek preliminary

  approval from the A sset Forfeiture and M oney Laundering Section to have forfeited property

  restored to satisfy the restitution order.

                 The defendant agrees to m ake full and accurate disclosure of the defendant's

  financialaffairsto this O ffice and the probation office.Specifically,defendantagreesthat,w ithin

  thirty calendar days of the signing of this Plea Aggeem ent,defendantshallsubm it a com pleted

   FinancialDisclosureStatement(folnnprovidedbythisOffice),andshallfullydiscloseandidentify
   allassetsin w hich the defendanthasany interestand/oroverw hich the defendantexercisescontrol,
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  directly orindirectly,including thoseheld by a spouse,nominee,orotherthird party.Defendant

  agrees to provide,in a tim ely m anner,a1l financialinform ation requested by this O ffice and the

  probation office,and upon request,to m eetin person to identify assets/m oniesw hich can be used

  to satisfy the restitution, forfeiture, and/or fine ordered or im posed. ln addition, defendant

  expressly authorizesthisO ftice to obtain a creditreporton him .

                 The defendant agrees that the defendant w ill not sell, hide, w aste, encum ber,

  destroy,orothelw ise devalue any assetuntilthe defendant's restitution,forfeiture,and/or fine is

  paid in fullw ithoutthe pliorapprovalofthis O ffice.D efendantshallalso identify any transferof

  assetsvalued in excessof$5,000 since the date ofinform atiolfindictm entorwhen the defendant
  becam e aw are of the crim inal investigation,including the identity of the asset,the value of the

  asset,the identity ofthe third party to w hom the assetwastransferred,and the currentlocation of

  the asset. The defendant agrees to cooperate fully in the investigation and the identification of

  assets to be applied tow ard any restitution and/or forfeiture ordered, and/or tine im posed.

   Defendant further agrees to liquidate assets,or com plete any other tasks, as requested by this

  O ffice,which willresult in fullpaym entof the restituticm,forfeiture,and/or fine in the shortest

  possibletim e.

          20.    The defendant agrees that providing false or incom plete inform ation about the

   defendant's financial assets;hiding, selling,transferring or devaluing assets; and/or failing to

   cooperate fully in the investigation and identification ofassets m ay be used by this O ffice as a

   basis for recom m ending a denial of a reduction for acceptance of responsibility pursuant to

   Sentencing Guidelines Section 3E 1.1, and also m ay be used in m aking any recom m endation

   regarding the sentence to be im posed by the Court.ln addition,this conductm ay form the basis

   for separate charges againstthe defendant,including,butnotlim ited to,charges under 18 U .S.C .
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  j1001.
                Standard W aiver: The defendant is aw are that Title 18,U nited States Code,

  Section 3742 and Title 28,United States Code,Section l291 afford the defendant the rightto

  appealthe sentence im posed in this case. A cknowledging this,in exchange for the undertakings

  m adeby the United States in thispleaagreem ent,the defendanthereby waivesallrightsconferred

  by Sections 3742 and 1291 to appeal any sentence im posed, including any restitution order,

  forfeiture order or to appealthe m anner in w hich the sentence w as im posed,unless the sentence

  exceedsthem axim um perm itted by statute oristhe resultofan upw ard departure and/oran upward

  variance from the advisory guideline range that the Court establishes at sentencing. The

  defendantfurther understands thatnothing in this agreem entshallaffectthe governm ent's right

  and/ordutyto appealassetforth in Title 18,United StatesCode,Section 3742(b)and Title28,
  U nited StatesCode,Section 1291. H owever,ifthe United Statesappealsthedefendant'ssentence

  pursuantto Sections37424b)and 1291,thedefendantshallbereleasedfrom theabovewaiverof
  appellate rights. By signing this agreem ent,the defendantacknow ledges thatthe defendanthas

  discussed the appealwaiver setfol'th in this agreem entwith the defendant's attorney.

         22.    The defendant confinns that the defendant is guilty of the offense to w hich the

  defendantispleading guilty;thatthe defendant's decision to plead guilty isthe decision thatthe

  defendanthasm ade;and thatnobody hasforced,threatened,orcoerced thedefendantinto pleading

  guilty. The defendant accordingly affirm s that the defendant is entering into this agreem ent

  knowingly,voluntarily, and intelligently,and w ith the benefit of full, com plete,and effective

  assistance by the defendant's attorney.

                 The defendantagrees to having consulted w ith the defendant's attorney and fully

  understands a1l lights w ith respect to the pending charges. Further,the defendant w as advised
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                                                           02/24/2017 Page 60
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                                                                                 12




  and fully understands allrightsw ith respectto the provisionsofthe Sentencing G uidelinesw hich

  m ay apply in thiscase. The defendantunderstandsthe constitutionalrights associated w ith going

  to trial,including the rightto be represented by counsel,the lightto plead notguilty,the rightto

  trialbyjury,therighttoconfrontandcross-examineadversewitnesses,therightto beprotected
  from com pelled self-incrim ination,therightto testify and presentevidence,and therightto com pel

  the attendance of w itnesses. By signing below , the defendant attests to having read this

  agreem ent,carefully reviewed every partofitw ith the defendant'sattorney,and to being satisfied

  with the advice and representation ofthe defendant'sattorney regarding the decision to enterinto

  the agreem ent. The defendantvoluntarily agrees to be bound by every term and condition set

  forth herein. The defendantaffinus thatthe defendanthasdiscussed this m atterthoroughly w ith

  the defendant's attonzey. The defendant further affirm s that the defendant's discussions w ith

  defense counselhave included discussion ofpossible defensesthatthe defendantm ightraise ifthe

  case w ere to go to trial,asw ellas possible issues and argum ents thatthe defendantm ay raise at

   sentencing. The defendant additionally affirm s that the defendant is satisfied with the

  representation provided defense counsel.

                 The defendantconfirm sthatthe defendanthas read thisplea agreem ent,orthatthis

   plea agreem enthasbeen read to the defendant. lfthe defendantdoesnotunderstand English,the

   defendant confirm s that this plea agreem ent has been translated into the defendant's native

   language and thatthe defendanthasread thisplea agreem ent,orthatthisplea agreem enthasbeen

   read to the defendantin the defendant'snative language.




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                                                                                 12




            25.   This is the entire agreem ent and understanding between this O ftice and the

  defendant. There are no otheragreem ents,prom ises,representations,orunderstandings.


                                             W ILFRED O A .FERRER
                                             UN ITED STA T S A TTO RN EY


  llate'                              By:
                                             Roger Cruz
                                             A ssistantU . . torney
                                            (
  D ate: J . V .
               F      7               By:         .-t-.-'
                                                Dennis Urbano,Esq.
                                                A ttorney for D efendant
                                                         !    ..
             /1 ' /                   By:              (                   '
   D ate:         '
                                                Craig Si
                                                Defenda t




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                          Exhibit 7
                      (Market Study)
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   "This is an opinion of value or Comparative Market Analysis and should not be considered an appraisal . In making any
 decision that relies upon my work, you should know that I have not followed the guidelines for development of an appraisal
       or analysis contained in the Uniform Standards of Professional Appraisal Practice of the Appraisal Foundation ."




                  Researched and prepared by                      Subject Property

                                      Jami R Agins                555 NE 57th St
                                                                  Miami
                         Prepared exclusively for                 33137-2626
                                         Brian Silber
                                     Prepared on
                               September 22, 2017



              Jami R Agins
              Re/Max Ultra Realty Group
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              C: 305.775.2389
              jagins@MiamiProperty.com
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           555 NE 57th St
           Miami-Dade County, 33137
                                                                                                       Friday, September 22, 2017


Summary of Comparable Listings
This page summarizes the comparable listings contained in this market analysis.


Active Listings
Address                                      Price    Bds Bth     Sqft Tot     Acres   List Date                           DOM
555 NE 57th St                                          4   4      3398      6,480.000
655 NE 50th Ter                        $1,300,000      4   3                                                                  74
602 NE 59th St                         $1,499,000      4   4       3,987                                                     329
570 NE 52nd Ter                        $1,550,000      4   3       2,139                                                     148
                         Averages:     $1,449,667     4.0 3.3      3,063                                                     184
Closed Sale Listings
Address                                      Price    Bds Bth     Sqft Tot     Acres   Sale Date                           DOM
555 NE 57th St                                          4   4       3398     6,480.000
611 NE 53rd St                           $960,000      3   2       2,158                03/27/2017                            20
500 NE 57th St                         $1,420,000      3   3       2,833                04/13/2017                            48
549 NE 55th St                         $1,475,000      4   5       2,900                06/27/2017                           207
                         Averages:     $1,285,000     3.3 3.3      2,630                                                      92
Expired Listings
Address                                      Price    Bds Bth     Sqft Tot     Acres   Expire Date                         DOM
555 NE 57th St                                          4   4       3398     6,480.000
5800 NE 6th Ct                         $1,399,000      3   3       2,240                09/01/2017                            94
                         Averages:     $1,399,000     3.0 3.0      2,240                                                      94


                                                     Low          Median         Average             High       Count
Comparable Price                              $960,000          $1,420,000      $1,371,857     $1,550,000             7
Adjusted Comparable Price                     $960,000          $1,420,000      $1,371,857     $1,550,000             7




                                                                                  Researched and prepared by Jami Agins
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              555 NE 57th St
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                                                                                                                                   Friday, September 22, 2017

CMA Price Adjustments
This page outlines the subject property versus comparables properties.




Subject Property                                 Details                                   Adjust        Details                                   Adjust
555 NE 57th St                                   655 NE 50th Ter                                         602 NE 59th St
MLS#                                             A10252343                                               A10164421
Status                                           Active                                                  Active
List Price                                       $1,300,000                                              $1,499,000
List Date
Sold Price
Sold Date

Subdiv            Bayshore Unit 02               Park Plaza                                         0    Bayshore Unit 02                                     0
City/County       Miami-Dade County              Miami-Dade County                               0.00    Miami-Dade County                                 0.00
Zip               33137                          33137                                              0    33137                                                0
Sqft Total        3398                                                                              0    3,987                                                0
# Levels          2                                                                                 0                                                         0
DOM               38                             74                                                 0    329                                                  0
Beds              4                              4                                                  0    4                                                    0
Baths             4 (3 1)                        3 (3 0)                                          0/0                                                       0/0
Parking           Driveway                       Circular Drive                                      Covered Parking
Pool on Prop      Yes                            False                                             0 True                                                    0
Year Built        1940                           1953                                              0 1932                                                    0
Acres             6480                                                                             0                                                         0




Remarks:
Drastically reduced for a Quick Sale! Historic   Beautifully remodelled 4 Bedroom House in               Reduced over 200K! Move-in before school
Morningside Smart Home! NEW                      exclusive Morningside Historic District!                starts! New electric + interior newly painted a
EVERYTHING! This 4/3.5 includes Guest            Stainless steel state of the art appliances.            neutral white. Treasured Morningside
Cottage w/full steam bath & pool/hot tube. The   Perfect for entertaining with Florida Room              landmark 3/4 home w/gorgeous coral rock
home has been modified to fit the most           overlooking the backyard. Master bedroom                exterior on over-sized 15,952SF gated/walled
sophisticated owner w/ a Crestron System that    exits to the backyard through private patio.            corner lot with incredible
runs the entire property, Chef’s Kitchen &       Split plan (guest room / family rooms). A few           backyard/playground. Roomy office can be
exterior bbq/w High End appliances such as       feet away from beautiful Morningside park.              4th bed. Grand living spaces w cathedral
Sub Zero/Wolf! The Ensuite Bed & Bath Spa is     Gated community very safe. Space to add                 ceilings, 2 fireplaces, huge fenced backyard.
a getaway all in itself w/ a Kohler DTV Shower   pool!                                                   Enjoy heated pool, impact winds/drs, 2-car
& Steam, Jacuzzi & 2 custom walk-in closets.                                                             garage, master bedroom on 1st fl + generator.
To much to list!                                                                                         Fall in love w/this architectural gem in the
                                                                                                         sought after upper Morningside location. Due
                                                                                                         to high elevation, flood insurance is not
                                                                                                         required. Generator and stove are on natural



                                         Price                                         $1,300,000                                               $1,499,000
                            Total Adjustments                                                  $0                                                       $0
                               Adjusted Price                                          $1,300,000                                               $1,499,000

                                                                                                        Researched and prepared by Jami Agins
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              555 NE 57th St
              Miami-Dade County, 33137
                                                                                                                                 Friday, September 22, 2017

CMA Price Adjustments
This page outlines the subject property versus comparables properties.




Subject Property                                 Details                                 Adjust          Details                                Adjust
555 NE 57th St                                   570 NE 52nd Ter                                         611 NE 53rd St
MLS#                                             A10266556                                               A10211527
Status                                           Active                                                  Closed Sale
List Price                                       $1,550,000                                              $1,040,000
List Date                                                                                                01/22/2017
Sold Price                                                                                               $960,000
Sold Date                                                                                                03/27/2017

Subdiv            Bayshore Unit 02               PARK PLAZA CORR PL OF                              0    Park Plaza                                       0
City/County       Miami-Dade County              Miami-Dade County                               0.00    Miami-Dade County                             0.00
Zip               33137                          33137                                              0    33137                                            0
Sqft Total        3398                           2,139                                              0    2,158                                            0
# Levels          2                                                                                 0                                                     0
DOM               38                             148                                                0    20                                               0
Beds              4                              4                                                  0    3                                                0
Baths             4 (3 1)                        3 (3 0)                                          0/0                                                   0/0
Parking           Driveway                       Driveway                                            Driveway
Pool on Prop      Yes                            True                                              0 True                                                0
Year Built        1940                           1955                                              0 1950                                                0
Acres             6480                                                                             0                                                     0




Remarks:
Drastically reduced for a Quick Sale! Historic   This 4/3 house has been completely                      Beautiful house by MORNINGSIDE PARK on
Morningside Smart Home! NEW                      remodeled from top to bottom with taste and             Biscayne Bay (upper east side of MIA).
EVERYTHING! This 4/3.5 includes Guest            top of the line appliances. Minutes away from           FULLY RENOVATED, bright and well
Cottage w/full steam bath & pool/hot tube. The   the Biscayne Corridor, Midtown Miami, Design            maintained, with wood flooring and higher
home has been modified to fit the most           District, Winwood and Miami beach. Very                 ceilings. Modern NEW KITCHEN with
sophisticated owner w/ a Crestron System that    modern feel with big size tiles and marble.             high-end appliances (Subzero/Wolf) and
runs the entire property, Chef’s Kitchen &       Modern all new Italian Kitchen with built in            SPACIOUS OUTSIDE AREA with a great
exterior bbq/w High End appliances such as       expresso machine. Video surveillance system             OUTDOOR KITCHEN.
Sub Zero/Wolf! The Ensuite Bed & Bath Spa is     with cameras in all rooms. Fantastic outdoor            GATED COMMUNITY, less than 5-min
a getaway all in itself w/ a Kohler DTV Shower   area with backyard porch awning covered                 walking from 30-acre park, with playground,
& Steam, Jacuzzi & 2 custom walk-in closets.     sitting area next to the new pool. Features             tennis, basketball, kayaking, boat dock,
To much to list!                                 open layout and large living spaces; unique             walking trails, among others. Few minutes
                                                 combined open floor plan in master bed/bath;            from Design District, Wyndwood and easy
                                                 brand new kitchen and baths w/ custom                   access to downtown and beach.
                                                 cabinetry and appliances;



                                         Price                                        $1,550,000                                               $960,000
                            Total Adjustments                                                 $0                                                     $0
                               Adjusted Price                                         $1,550,000                                               $960,000

                                                                                                        Researched and prepared by Jami Agins
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              555 NE 57th St
              Miami-Dade County, 33137
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CMA Price Adjustments
This page outlines the subject property versus comparables properties.




Subject Property                                 Details                                  Adjust          Details                                  Adjust
555 NE 57th St                                   500 NE 57th St                                           549 NE 55th St
MLS#                                             A10204621                                                A10153927
Status                                           Closed Sale                                              Closed Sale
List Price                                       $1,485,000                                               $1,495,000
List Date                                        01/02/2017                                               09/25/2016
Sold Price                                       $1,420,000                                               $1,475,000
Sold Date                                        04/13/2017                                               06/27/2017

Subdiv            Bayshore Unit 02               BAYSHORE                                            0    Bayshore Plaza Resub               0
City/County       Miami-Dade County              Miami-Dade County                                0.00    Miami-Dade County               0.00
Zip               33137                          33137                                               0    33137                              0
Sqft Total        3398                           2,833                                               0    2,900                              0
# Levels          2                                                                                  0                                       0
DOM               38                             48                                                  0207                                    0
Beds              4                              3                                                   04                                      0
Baths             4 (3 1)                        3 (3 0)                                           0/05 (4 1)                              0/0
Parking           Driveway                       Other Parking                                        Driveway, Guest Parking, Street Parking
Pool on Prop      Yes                            False                                              0 True                                   0
Year Built        1940                           1936                                               0 1939                                   0
Acres             6480                                                                              0                                        0




Remarks:
Drastically reduced for a Quick Sale! Historic   This enchanting 2-story villa sits on a 7, 011           Tasteful Gut Renovation in historic
Morningside Smart Home! NEW                      SF corner lot in the most desired Morningside            Morningside no expense spared 4bed 4.5bath
EVERYTHING! This 4/3.5 includes Guest            area. The home boasts fine designer finishes,            spacious and bright on 8250 sf lot with
Cottage w/full steam bath & pool/hot tube. The   hand-made Cuban tiles & exquisite oak wood               swimming pool. Oak floors, ample storage
home has been modified to fit the most           floors, spacious dining & living room                    throughout, all bedrooms include en-suite
sophisticated owner w/ a Crestron System that    w/fireplace. Gourmet kitchen w/top appliances            baths. Custom solid teak vanities and top of
runs the entire property, Chef’s Kitchen &       and adjacent breakfast room. Master suite                line fixtures. Open living/dining/gourmet
exterior bbq/w High End appliances such as       encompasses entire 2nd floor w/full room                 custom kitchen w 10ft ceilings and wrap
Sub Zero/Wolf! The Ensuite Bed & Bath Spa is     closet & beautiful Calacatta Gold marble                 around windows overlooking garden and pool.
a getaway all in itself w/ a Kohler DTV Shower   master bath with steam. Private backyard                 Fully wired for sound, data + ADT system.
& Steam, Jacuzzi & 2 custom walk-in closets.     garden & seating area, mature landscaped                 Beautiful,gated quiet residential neighborhood
To much to list!                                 grounds.Smart Home & Wi-Fi integration.                  w/tennis courts parks and plenty of green
                                                                                                          space.




                                         Price                                         $1,420,000                                               $1,475,000
                            Total Adjustments                                                  $0                                                       $0
                               Adjusted Price                                          $1,420,000                                               $1,475,000

                                                                                                         Researched and prepared by Jami Agins
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              555 NE 57th St
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                                                                                                                       Friday, September 22, 2017

CMA Price Adjustments
This page outlines the subject property versus comparables properties.




Subject Property                                 Details                                   Adjust
555 NE 57th St                                   5800 NE 6th Ct
MLS#                                             A10284973
Status                                           Expired
List Price                                       $1,399,000
List Date                                        05/30/2017
Sold Price
Sold Date

Subdiv            Bayshore Unit 02               BAYSHORE UNIT NO 2                     0
City/County       Miami-Dade County              Miami-Dade County                  0.00
Zip               33137                          33137                                  0
Sqft Total        3398                           2,240                                  0
# Levels          2                                                                     0
DOM               38                             94                                     0
Beds              4                              3                                      0
Baths             4 (3 1)                        3 (2 1)                              0/0
Parking           Driveway                       Covered Parking, Driveway, Street Parking
Pool on Prop      Yes                            True                                   0
Year Built        1940                           1949                                   0
Acres             6480                                                                  0




Remarks:
Drastically reduced for a Quick Sale! Historic   RENOVATED TO EXCELLENCE IN 2017.
Morningside Smart Home! NEW                      Located in the exclusive Mimo Historic
EVERYTHING! This 4/3.5 includes Guest            Morningside Disctrict, this magnificent 1940s
Cottage w/full steam bath & pool/hot tube. The   home rests upon an impressive sized corner
home has been modified to fit the most           lot with magnificent ocean views just a
sophisticated owner w/ a Crestron System that    walking distance away. This property features
runs the entire property, Chef’s Kitchen &       3BR/2.5BA with beautifully groomed
exterior bbq/w High End appliances such as       landscaping giving the pool area a resort style
Sub Zero/Wolf! The Ensuite Bed & Bath Spa is     feel. Inside, you will be welcomed with natural
a getaway all in itself w/ a Kohler DTV Shower   lighting throughout the open floor plan,
& Steam, Jacuzzi & 2 custom walk-in closets.     including a modern kitchen with high-end
To much to list!                                 appliances, spectacular finishes such as
                                                 refinished vintage pine wood floors, terrazo
                                                 floors, expansive modernized bathrooms, high
                                                 impact windows, Dornbracht fixtures, salt



                                         Price                                         $1,399,000
                            Total Adjustments                                                  $0
                               Adjusted Price                                          $1,399,000

                                                                                                    Researched and prepared by Jami Agins
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                555 NE 57th St
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List Price and Sale Price
This graph illustrates the list price, along with sale price in Sold listings.




                                                     Price Graph
           1600K

           1400K

           1200K

           1000K
                                                                                                              List Price
        Price




                800K                                                                                          Sold Price


                600K

                400K

                200K

                  0K
                          3



                                     1



                                                  6



                                                               7



                                                                           1



                                                                                        7



                                                                                                   3
                        34



                                   42



                                                55



                                                             52



                                                                         62



                                                                                      92



                                                                                                 97
                      52



                                   64



                                              66



                                                          11



                                                                       04



                                                                                    53



                                                                                               84
                    02



                                 01



                                            02



                                                        02



                                                                     02



                                                                                  01



                                                                                             02
                  A1



                              A1



                                           A1



                                                      A1



                                                                   A1



                                                                                 A1



                                                                                            A1




                                                            MLS#




                                                                                      Researched and prepared by Jami Agins
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               555 NE 57th St
               Miami-Dade County, 33137
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Brief Summary of Compared Listings
This report summarizes the comparable listings contained in this market analysis.


 Status: Active
  MLS#            Stat Date        Address                                    City                 Sqft     Bds        Bth     L/S Price

 A10252343                         655 NE 50th Ter                           Miami                            4        3.0      $1,300,000

 A10164421                         602 NE 59th St                            Miami                3,987       4                 $1,499,000

 A10266556                         570 NE 52nd Ter                           Miami                2,139       4        3.0      $1,550,000

 Averages:                                                                                        3,063       4        3.0     $1,449,667



 Status: Closed Sale
  MLS#            Stat Date        Address                                    City                 Sqft     Bds        Bth     L/S Price

 A10211527       03/27/2017        611 NE 53rd St                            Miami                2,158       3                  $960,000

 A10204621       04/13/2017        500 NE 57th St                            Miami                2,833       3        3.0      $1,420,000

 A10153927       06/27/2017        549 NE 55th St                            Miami                2,900       4        4.5      $1,475,000

 Averages:                                                                                        2,630       3        3.8     $1,285,000



 Status: Expired
  MLS#            Stat Date        Address                                    City                 Sqft     Bds        Bth     L/S Price

 A10284973       09/01/2017        5800 NE 6th Ct                            Miami                2,240       3        2.5      $1,399,000

 Averages:                                                                                        2,240       3        2.5     $1,399,000




 Summary
 Status                       Total            Avg Price         Avg $ Per SqFt         Median               Low                 High        Avg DOM

 Active                        3                    $1,449,667     $550.31           $1,499,000           $1,300,000         $1,550,000       184

 Closed Sale                   3                    $1,285,000     $484.91           $1,420,000            $960,000          $1,475,000        92

 Expired                       1                    $1,399,000     $624.55           $1,399,000           $1,399,000         $1,399,000        94

 Total                         7                    $1,371,857      $529.98          $1,420,000            $960,000          $1,550,000        131




                                                                                           Researched and prepared by Jami Agins
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            555 NE 57th St
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Pricing Recommendation
This page suggests a recommended selling price based on a thorough analysis of your property.

After analyzing your property, comparable properties on the market now, recent sales and comparable
properties that failed to sell, I conclude that in the current market, your property is most likely to sell for
$1,429,000.




                                                                                       Researched and prepared by Jami Agins
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           555 NE 57th St
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Activity vs. Timing
This chart highlights the importance of pricing correctly at market value.




        This chart illustrates the level of excitement and interest in a new listing over time. It also

        demonstrates the importance of pricing correctly. When a property is first listed, it generates

        a very high level of interest from prospective buyers, which reduces dramatically over time. It

        is important to be priced correctly from the beginning, during the peak of this curve.




                                                                                    Researched and prepared by Jami Agins
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           555 NE 57th St
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                                                                                                     Friday, September 22, 2017


The Effect of Over Pricing
This chart highlights the importance of pricing correctly at market value.




                            This is the average percentage difference between the Selling and
                            Asking Price by the length of time the home was on the market.




                            -   Put your best foot forward immediately
                            -   Establish a competitive asking price
                            -   Keep your home in top showing condition
                            -   Offer favorable financing terms




                                                                                 Researched and prepared by Jami Agins
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           555 NE 57th St
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                                                                                                       Friday, September 22, 2017


The Importance of Pricing
This chart highlights the importance of pricing correctly at market value.




                       This graph illustrates the importance of pricing correctly. The centerline
                   represents market value. As you move above this market value, you attract
                   much smaller percentage of prospective buyers, greatly reducing your
                   chances of a sale. Conversely, as you move below market value, you attract
                   a much larger percentage of potential buyers.




                                                                                   Researched and prepared by Jami Agins
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           555 NE 57th St
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                                                                                                 Friday, September 22, 2017


The Pitfalls of Overpricing
This chart highlights the importance of pricing correctly at market value.




     Overpricing your house in the

     belief that you can reduce the

     price back later is a strategy

     that can backfire badly. For

     example, by the time you

     reduce your price, you may

     miss out on a surge of interest

     in properties like yours. Also, if

     prices are lowered, buyers may

     wonder if there’s something

     wrong with the property that

     kept other buyers away. So to

     keep from selling your property

     at below market value and from

     wasting valuable time, don’t fall

     into the overpricing trap.




                                                                             Researched and prepared by Jami Agins
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           555 NE 57th St
           Miami-Dade County, 33137
                                                                                           Friday, September 22, 2017


CMA Map Layout
This page displays the Map for the CMA Subject and your comparables.




                                                                                    1   555 NE 57th St
                                                                                    2   655 50Th Ter Ne
                                                                                    3   602 59Th St Ne
                                                                                    4   570 52Nd Ter Ne
                                                                                    5   611 53Rd St Ne
                                                                                    6   500 57Th St Ne
                                                                                    7   549 55Th St Ne
                                                                                    8   5800 6Th Ct Ne




                                                                       Researched and prepared by Jami Agins
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     The figures below are prepared as a guide to you and are based on information from reliable sources. This
     statement is to be considered as an approximation only. We cannot be responsible for errors or omissions.

     SELLER Craig and Maria Sizer
     ADDRESS 555 NE 57th St, Miami, FL 33137

     SELLING PRICE                                                 $ 1,375,000

     METHOD OF PURCHASE  Conv.  Assume  FHA  Owner  Cash  Other

     State Documentary Stamps (.60/100 Dade .70/100 Broward) $ 8,250

     Title Insurance                                               $ ___________________

     Update prior title policy, doc prep, title fees               $ 695

     FHA or VA Mortgage Discount Fee (_____ %)

     Real Estate Brokerage Fee (_____ %)                           $ 82,500

     Existing 1st Mortgage Balance                                 $ 820,000 (approx.)

     Other Existing Liens, Assessments or Mortgages                $ ___________________

     Transaction Fee__________________________________

     Other

              TOTAL SELLER EXPENSE                                 $ 911,445

              ESTIMATED PROCEEDS TO SELLER                         $ 463,555

     NOTE: Adjustments to Seller’s Net
     1. Prorations of taxes, insurance and maintenance (where applicable).
     2. Prepayment penalty (if any) on existing financing.
     3. FHA and VA mortgage discount is subject to change depending on market conditions. The above
        discount is based on present day mortgage market,
     4. If Seller is responsible for repairs, said costs, if any, will reflect “estimated proceeds to seller”.
     5. Inspection fees and appraisals fees, if applicable.
     6. Attorney fees (if any).
     7. FIRPTA: Seller may be responsible to pay capital gains on the sale of this property. Closing agent is
        required to holdback 10% of sales price at closing until which time buyer satisfies the requirement of
        this act and receives exemption (no taxable gains)

     I HAVE READ AND UNDERSTOOD THE ABOVE INFORMATION AND I UNDERSTAND THAT
     THIS DOES NOT REPRESENT A GUARANTEE NOR IS THIS STATEMENT TO BE CONSIDERED
     AS A CONTRACT.
     DATE ___________________________ SELLER ___________________________

     ASSOCIATE _____________________               SELLER ____________________________

     MJLyn Realty Inc. 212 NE 24th St., Miami, FL 33137 (305) 932-1771
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                          Exhibit 8
              (Mortgage Statement)
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